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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

NED CAMERON, JR.,

              Plaintiff,
                                                   CASE NO.: 2:20-cv-1747
      v.                                           JUDGE EDMUND A. SARGUS, JR.
                                                   Magistrate Judge Chelsey M. Vascura

RYAN WISE, et al.,

              Defendants.


                                           ORDER

       This matter is before the Court for consideration of a Report and Recommendation issued

by the Magistrate Judge on August 27, 2020. (ECF No. 3.) The time for filing objections has

passed, and no objections have been filed to the Report and Recommendation. Therefore, the

Court ADOPTS the Report and Recommendation. For the reasons set forth in the Report and

Recommendation, this case is hereby DISMISSED WITHOUT PREJUDICE pursuant to

Federal Rules of Civil Procedure 4(m) and 41(b). If Plaintiff re-files this action, Plaintiff is

ORDERED to list 2:20-cv-1747 as a related case.

       IT IS SO ORDERED.




10/19/2020                                  s/Edmund A. Sargus, Jr.
DATE                                        EDMUND A. SARGUS, JR.
                                            UNITED STATES DISTRICT JUDGE
